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                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             GREENVILLE DIVISION

 IN RE:                       )
                              ) Case No. 19-00730-5-JNC
 CAH ACQUISITION COMPANY #1, )
 LLC, d/b/a WASHINGTON COUNTY ) Chapter 11
 HOSPITAL,                    )
                              )
              Debtor.         )
                              )

               MOTION TO EMPLOY SHERWOOD PARTNERS, INC. AS
                       SALES AGENT TO THE TRUSTEE

       Thomas W. Waldrep, Jr., Chapter 11 Trustee for the above-captioned Debtor (the

“Trustee”), hereby moves for entry of an Order pursuant to Sections 327(a) and 328(a) of Title 11

of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rules 2014 and

2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing the

employment of Sherwood Partners, Inc. (“Sherwood”) as sales agent and operational and strategic

advisor to the Trustee effective as of September 13, 2019, the Effective Date of the Engagement

Agreement, as that term is defined below. In support of this Motion, the Trustee refers to and

relies upon the Declaration of Michael A. Maidy attached hereto as Exhibit A and incorporated

herein by reference, and respectfully represents as follows:

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Consideration of this motion is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A).

       2.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief requested herein are Sections 327(a) and

328(a) of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016.
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                                  PROCEDURAL BACKGROUND

        4.       Pursuant to the various orders in seven jointly administered cases,1 the Court has

appointed the Trustee as the Chapter 11 Trustee for each Debtor (collectively, the “Affiliated

Debtors”).

        5.       Upon the filing of the various Chapter 11 proceedings, the Debtors became bound

by the Local Rules of Practice and Procedure of this Court (the “Local Rules”) and by the Chapter

11 Administrative Guidelines (the “Guidelines”) issued by the United States Bankruptcy

Administrator’s Office for the Eastern District of North Carolina (the “Bankruptcy

Administrator”).

        6.       Since his appointment, the Trustee has administered the estates of the above-

captioned Debtor, as well as of the other Affiliated Debtors.

                                         RELIEF REQUESTED

        7.       Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy

Rule 2016, the Trustee requests the Court enter an Order: (i) authorizing the employment and

retention of Sherwood as sales agent and advisor to the Trustee pursuant to the terms and

conditions of that certain engagement agreement dated September 12, 2019 and with an Effective

Date of September 13, 2019 (the “Engagement Agreement”), a copy of which is attached hereto

as Exhibit B and which is incorporated herein by reference; (ii) approving the terms of Sherwood’s

employment, including the proposed fee structure and indemnification provisions as may be


1
 The Affiliated Debtors in these cases, along with each Debtor’s case numbers, are: (i) CAH Acquisition Company
#1, LLC, d/b/a Washington County Hospital, Case No. 19-00730-5-JNC; (ii) CAH Acquisition Company #2, LLC
d/b/a Oswego Community Hospital, Case No. 19-01230-5-JNC; (iii) CAH Acquisition Company #3, LLC, d/b/a
Horton Community Hospital, Case No. 19-01180-5-JNC; (iv) CAH Acquisition Company 6, LLC d/b/a I-70
Community Hospital, Case No. 19-01300-5-JNC; (v) CAH Acquisition Company 7, LLC d/b/a Prague Community
Hospital, Case No. 19-1298-5-JNC; (vi) CAH Acquisition Company 12, LLC, d/b/a Fairfax Community Hospital,
Case No. 19-01697-5-JNC; and (vii) CAH Acquisition Company 16, LLC, d/b/a Haskell County Community Hospital,
Case No. 19-01227-5-JNC. See, e.g., Order Directing Joint Administration of Chapter 11 Cases, Case No. 19-00730.
[Dkt. No. 75].

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modified by any Order of the Court, set forth in the Engagement Agreement; and (iii) granting

such other and further relief as the Court deems appropriate. The Trustee requests that Sherwood’s

employment be deemed effective as of the date of the signing of the Engagement Agreement.

                                  FACTUAL BACKGROUND

       8.      It appears that the Affiliated Debtors are currently owned by HMC/CAH

Consolidated, Inc. (“HMC”) (20% interest) and Health Acquisition Company, LLC (“HAC,” and

together with HMC, the “Owners”) (80% interest). It appears that the Owners were in the business

of acquiring and operating a system of acute care hospitals located in rural communities that are

certified by The Centers for Medicare and Medicaid Services (“CMS”) as Critical Access

Hospitals. Upon information and belief, the Owners owned and/or operated rural hospitals in

several states, including Kansas, North Carolina, Missouri, Tennessee, and Oklahoma.

       9.      Upon information and belief, through and until January 7, 2019, EmpowerHMS

LLC (“EmpowerHMS”) operated each facility. EmpowerHMS is a Delaware limited liability

company headquartered in Kansas City, Kansas. Upon information and belief, EmpowerHMS

formerly provided the financial support, legal support, centralized business office, and revenue

cycle and IT services necessary to each facility’s operations.

       10.     Upon information and belief, as of January 7, 2019, EmpowerHMS no longer

operated or managed any of the facilities, the management of which was transferred by

EmpowerHMS to iHealthcare Management II Company (“Manager”), a Florida Corporation,

pursuant to (i) a Management and Administrative Services Agreement (the “Management

Agreement”) dated as of January 7, 2019, by and between each Debtor and Manager; (ii) an EHR

and RCM Services Agreement dated as of January 7, 2019 by and between each Debtor and

iHealthcare Software Services, Inc. (“Consultant”), a Florida Corporation; and (iii) an IT Help



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Desk Support & Daily Backup Services Agreement also dated as of January 7, 2019 by and

between each Debtor and Consultant (together with the EHR and RCM Services Agreement,

collectively, the “Services Agreements”).

        11.     Upon information and belief, after January 7, 2019, iHealthcare attempted to begin

managing each debtor, but such efforts were delayed by several transition and financial issues with

EmpowerHMS. By mid-March 2019, all the Affiliated Debtors had sought bankruptcy protection

or had consented to an involuntary bankruptcy proceeding.

        12.     The following sections provide brief summaries of the current status of each Debtor

and the respective facilities.

CAH Acquisition Company #1, LLC, d/b/a Washington County Hospital, d/b/a Washington
Regional Medical Center, Case No. 19-00730

        13.     This Debtor owns a for-profit, Critical Access Hospital in Plymouth, North

Carolina. This facility closed before the petition date. Since his appointment, the Trustee has re-

opened the Washington facility as a Critical Access Hospital. The Trustee engaged Affinity Health

Partners, LLC (“Affinity”) to manage and operate the facility. The facility has been re-branded as

the “Washington Regional Medical Center”. The Trustee intends to continue operating the

Washington facility until a sale.

CAH Acquisition Company #2, LLC d/b/a Oswego Community Hospital, Case No. 19-01230
(“Oswego”)

        14.     This Debtor owns a for-profit, Critical Access Hospital in Oswego, Kansas. The

Oswego facility had closed before the petition date and remains closed. All employees of the

Oswego facility have been terminated. The Trustee has engaged Affinity to manage the property

and to assist in responding to medical records requests. The Trustee continues to investigate

whether to reopen the Oswego facility as a CAH or other medical facility prior to any sale.



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CAH Acquisition Company #3, LLC, d/b/a Horton Community Hospital, Case No. 19-01180

       15.     This Debtor owns a for-profit, Critical Access Hospital in Horton, Kansas. The

Horton facility provided acute care, swing bed, emergency medicine, radiology, physical

rehabilitation, laboratory, and related outpatient ancillary services to residents in Horton and in

surrounding communities. The Horton facility had ceased operations before the petition date and

remains closed. A small crew of employees remains employed, though most employees have been

terminated. The Trustee has engaged Affinity to assist those employees with managing the

property and to respond to medical records requests. The Trustee continues to investigate whether

to reopen the Horton facility as a CAH or other medical facility prior to any sale.

CAH Acquisition Company 6, LLC d/b/a I-70 Community Hospital, Case No. 19-01300
(“I-70”)

       16.     This Debtor owns, a for-profit, Critical Access Hospital in Sweet Springs, Missouri.

The I-70 facility provided acute care, swing bed, emergency medicine, radiology, physical

rehabilitation, laboratory, and related outpatient ancillary services to residents in Sweet Springs

and in surrounding communities. The I-70 facility had ceased operations before the petition date

and remains closed. The Trustee recently settled a dispute with First Liberty Bank, the primary

secured creditor with respect to this facility.   The Trustee has engaged Affinity to manage the

property and to assist in responding to medical records requests. Affinity has engaged two former

employees of the facility to assist with those efforts. The Trustee anticipates reopening the I-70

facility as a “medical mall” prior to any sale.

CAH Acquisition Company 7, LLC d/b/a Prague Community Hospital, Case No. 19-1298
(“Prague”)

       17.     This Debtor owns a for-profit, Critical Access Hospital (“CAH”) in Prague,

Oklahoma. The Prague facility provides acute care, swing bed, emergency medicine, radiology,

physical rehabilitation, laboratory, and related outpatient ancillary services to residents in Prague

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and in surrounding communities. Prague also operates a family clinic, a Provider-Based Rural

Health Clinic. The Clinic is on the campus of Prague.

       18.     Prague has at all times, both immediately pre-petition and post-petition, continued

operation. Prior to the instant bankruptcy case, Cohesive Healthcare Management & Consulting,

LLC (“Cohesive”) had been appointed as receiver for the facility in an Oklahoma state court

proceeding. After the commencement of the bankruptcy case, the Trustee engaged Cohesive to

manage and operate the facility. The Trustee intends to continue operating Prague until a sale.

CAH Acquisition Company 12, LLC, d/b/a Fairfax Community Hospital, Case No. 19-01697
(“Fairfax”)

       19.     This Debtor owns Fairfax a fifteen-bed, for-profit, Critical Access Hospital in

Fairfax, Oklahoma. Prior to the Petition Date, Fairfax provided acute care, swing bed, emergency

medicine, radiology, physical rehabilitation, laboratory, and related outpatient ancillary services

to residents in Fairfax and in surrounding communities. Fairfax also operates the on-site Fairfax

Rural Health Clinic and the off-site Pawnee Rural Health Clinic, both of which are Provider-Based

Rural Health Clinics. The Pawnee Rural Health Clinic is in the nearby city of Pawnee, Oklahoma.

       20.     Fairfax closed before the petition date. Since his appointment, the Trustee has re-

opened the Fairfax facility as a Critical Access Hospital. The Trustee engaged Cohesive to manage

and operate the facility. The Trustee intends to continue operating Fairfax until a sale.

CAH Acquisition Company 16, LLC, d/b/a Haskell County Community Hospital, Case No.
19-01227 (“Haskell”)

       21.     This Debtor owns Haskell a fifteen-bed, for-profit, Critical Access Hospital in

Stigler, Oklahoma. Before the petition date in this case Cohesive was appointed as receiver by an

Oklahoma state court to manage Haskell. In its capacity as court-appointed receiver, Cohesive

maintained Haskell in an operational status between its appointment and the petition date. The



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Trustee engaged Cohesive to manage and operate the facility. The Trustee intends to continue

operating Haskell until a sale.

The Trustee’s Search for a Sales Agent and Advisor and Sherwood’s Qualifications

       22.     The Trustee, on behalf of each of the Affiliated Debtors’ respective estates, has

spent much of the last several weeks investigating investment banking firms, speaking with

potential advisory firms, and soliciting proposals from those firms interested in providing

investment banking services to the Trustee and the Affiliated Debtors’ estates. The Trustee has

consulted with his attorneys and financial advisor during this process and has received valuable

insight and advice from his counsel and advisors.

       23.     The Trustee ultimately received written proposals from four potential advisory

firms. The Trustee conducted additional rounds of telephone conferences and interviews with each

firm that submitted a proposal. After that round of discussions and negotiations, and based on the

Trustee’s business judgment, the Trustee selected Sherwood.

       24.     The Trustee believes that Sherwood has the experience, industry knowledge, and

relationships necessary to identify the best possible marketing strategy and potential buyers for the

Affiliated Debtors’ facilities. Sherwood is an independent financial advisory firm with experience

in the health care sector. The firm traces its heritage to its founding in 1992. With offices in Silicon

Valley, Los Angeles, and New York, Sherwood is uniquely positioned to help the Trustee sell the

facilities owned by the Affiliated Debtors. The firm’s principals and managing directors have been

lead advisors on hundreds of transactions representing billions of dollars in value, offering the

experience and industry knowledge to achieve the most favorable results for each Debtor’s estate.




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       B.      Services to be Rendered

               i.     Advisory Services

       25.     In accordance with the Engagement Agreement, at the request and direction of the

Trustee, Sherwood will make itself available to consult with and advise the Trustee on certain

matters of importance concerning the business affairs of the Trustee. The process to be undertaken

by Sherwood under the Engagement Agreement is to market and assist the Trustee to sell

substantially all hospital-related assets in each bankruptcy case pursuant to § 363 of the

Bankruptcy Code. In regard to the sale of tangible and intangible assets (including but not limited

to real estate, personal property, inventory, furniture fixtures and equipment, financial assets

including accounts receivable, and intellectual property), Sherwood’s efforts shall include the

following advisory services to the extent they are desired or necessary:

               (a)    Working with the Trustee to create a list of assets to be sold, including the
                      intellectual property assets;

               (b)    Advising on the structure of a sale process;

               (c)    Working with the Trustee to develop a target list of potential acquirers;

               (d)    Working with the Trustee to prepare an offering memorandum(s), non-
                      disclosure agreement and a data room;

               (e)    Assisting potential buyers with due diligence and formulation of offers; and

               (f)    Working with the Trustee to assist in the closing of one or more sale
                      transactions.

       26.     The services that Sherwood will provide to the Trustee are necessary to enable each

Affiliated Debtor to maximize the value of its estate. The services of Sherwood will complement,

and not duplicate, the services rendered by any other professional retained in this case. Sherwood

understands that the Trustee has retained and may retain additional professionals during the term

of the engagement, and Sherwood agrees to work cooperatively with such professionals to


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coordinate the work conducted by the Trustee’s professionals in order to avoid any unnecessary

duplication of services.

          27.   Specifically, the Trustee does not believe that the services of Sherwood and Grant

Thornton LLP (“Grant Thornton”) (who the Trustee has retained as his financial consultant) will

materially overlap. While Sherwood can provide financial consulting, the Trustee has not engaged

Sherwood to do so. Sherwood’s efforts, as described above, will be focused on tasks related the

liquidation of the facilities, while Grant Thornton’s engagement will largely involve assisting the

Trustee with financial matters related to these bankruptcy cases, including cash management and

planning, assessment of liquidity, preparation of budgets, financial statements, monthly operating

reports, and any other financial disclosures required by the Court.

          28.   Sherwood has provided the Declaration of Michael A. Maidy (the “Declaration”)

disclosing the information relevant to this Motion pursuant to Bankruptcy Rules 2014 and 2016, a

copy of which is attached hereto as Exhibit A.

          C.    Compensation

          29.   The Trustee seeks approval of Sherwood’s Compensation Structure pursuant to

Bankruptcy Code Section 328(a), which provides, in relevant part, that the Trustee, “with the

court’s approval, may employ or authorize the employment of a professional person under section

327 [. . .] on any reasonable terms and conditions of employment, including on a retainer, on an

hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis [. . . ].” 11 U.S.C. §

328(a).

                i.     Advisory Services

          30.   Subject to the Court’s approval, and as described in the Engagement Agreement,

the Trustee requests that Sherwood be entitled to receive the following as compensation for its



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 advisory services on behalf of the Trustee, as more particularly set out in the Engagement

 Agreement:

               (a)     $75,000 due on upon the signing of the Engagement Agreement, allocated
                       among the respective estates as set out on Exhibit B to the Engagement
                       Agreement;

               (b)     $27,500 shall be due 30 days after the signing of the Engagement
                       Agreement;

               (c)     An additional $27,500 shall be due 60 days after the signing of the
                       Engagement Agreement;

               (d)     An additional $27,500 shall be due 90 days after the signing of the
                       Engagement Agreement;

               (e)     In addition to the foregoing Consulting Fees, Sherwood will be entitled to
                       a Transaction Fee of $50,000 from the sale proceeds of each estate’s sale;
                       provided, however, that the Transaction Fee shall be $25,000 if the sale is
                       to party listed on Exhibit C to the Engagement Agreement; and

               (f)     In addition to the Consulting Fees and Transaction Fees, Sherwood will
                       receive a Success Fee equal to 5% of the combined Transactions’ Sales
                       Gross Value for all Affiliated Debtors in excess of $8,000,000.

        31.    Sherwood Partners also will seek reimbursement of all necessary out-of-pocket

 business expenses incurred in connection with this matter up to $50,000.

        32.    Because the Trustee requests that Sherwood be paid for its advisory services

 through a transaction fee, rather than on an hourly basis, and because Sherwood’s services would

 not be compensated by reference to the number of hours spent, the Trustee requests that Sherwood

 not be required to keep time records for this engagement.

        33.    Further, the Trustee requests that any fee payable to Sherwood as a result of its

 advisory services is only subject to the standards of review set forth in Bankruptcy Code Section

 328(a), and not subject to the standards of review set forth in Bankruptcy Code Section 330,

 whereby the right to raise any challenges to fees pursuant to Section 330 of the Bankruptcy Code

 is only reserved by the Court and the Bankruptcy Administrator’s Office. The Trustee submits

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 that Sherwood’s proposed compensation structure for its sales advisory services, as described in

 the Engagement Agreement, should be approved unless Sherwood’s fees “prove to have been

 improvident in light of developments not capable of being anticipated at the time” such

 compensation structure was initially approved. 11 U.S.C. § 328(a).

        34.     As described more fully in the Declaration in support of the Motion, the fee

 structure for Sherwood’s advisory services is similar to the terms, both financial and otherwise,

 agreed to by Sherwood and other investment banking and financial advisory firms, both inside and

 outside of bankruptcy, for transactions of similar size and scope. The fee structure was negotiated

 between the Trustee and Sherwood and reflects the extensive work to be performed by Sherwood

 in this case and Sherwood’s expertise.

        D.       Disinterestedness of Professionals

        35.     To the best of the Trustee’s knowledge, information, and belief, based on and

 except as may be set forth in the Declaration, Sherwood does not hold or represent any interest

 adverse to the Trustee, the Debtor, its creditors, or other parties-in-interest in connection with the

 Debtor and any of these Chapter 11 cases, and is a “disinterested person” as that term is defined

 by Bankruptcy Code Section 101(14), as modified by Bankruptcy Code Section 1107(b). More

 specifically, as set forth in the Declaration, Sherwood, its partners and employees:

                (a)     are not creditors, equity security holders or insiders of the Debtor;

                (b)     are not and were not, within 2 years before the date of the filing of
                        the Debtor’s Chapter 11 petitions, directors, officers, or employees of
                        the Debtor; and

                (c)     do not have an interest materially adverse to the interest of the estate
                        or of any class of creditors or equity security holders, by reason of
                        any direct or indirect relationship to, connection with, or interest in,
                        the Debtor, or for any other reason.




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        36.     Based on and as set forth in the Declaration, Sherwood informed the Trustee that

 Sherwood has assessed, and will continue to assess, any and all client relationships to ensure that

 Sherwood does not represent any interests adverse to the Trustee, each Affiliated Debtor and their

 respective creditors or other parties-in-interest, and that no disqualifying circumstances exist, and

 further, that Sherwood shall disclose on an ongoing basis any relationship that may reflect upon

 Sherwood’s disinterestedness. The Trustee understands that to the extent Sherwood discovers any

 additional facts bearing upon matters described herein or its engagement by the Trustee during the

 period of its employment, Sherwood will promptly disclose such facts and supplement the

 information contained in this Motion and the Declaration.

        37.     Sherwood has not been retained to assist any entity or person other than the Trustee

 on matters relating to, or in connection with, the Affiliated Debtors and their respective Chapter

 11 cases. If this Court approves the proposed retention and employment of Sherwood by the

 Trustee, Sherwood will not accept any engagement or perform any service for any entity or person

 other than the Trustee related to this Chapter 11 case. Sherwood will, however, continue to provide

 professional services to, and engage in commercial or professional relationships with, entities or

 persons that may be creditors of a Debtor or parties-in-interest in these Chapter 11 cases; provided,

 however, that such services do not relate to, or have any connection with, the Affiliated Debtors

 and these Chapter 11 cases.

        38.     The Trustee has been advised that Sherwood will not share any compensation to be

 paid on behalf of the Trustee in connection with services to be performed with any other person or

 entity, other than other professionals of Sherwood, to the extent required by Bankruptcy Code

 Section 504.




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                                          CONCLUSION

        WHEREFORE, the Trustee requests that this Court enter an Order (i) authorizing the

 employment and retention of Sherwood as sales agent and operational and strategic advisor to the

 Trustee pursuant to the terms and conditions of the Engagement Agreement, effective as of

 September 13, 2019, the Effective Date of the Engagement Agreement; (ii) approving the terms of

 Sherwood’s employment, including the proposed compensation structure as may be modified by

 any Order of the Court, set forth in the Engagement Agreement; (iii) authorizing the Trustee to

 pay the Consulting Fees according to the timing and amounts set out in Exhibit B to the

 Engagement Agreement without further application by the Trustee or further order of this Court;

 (iv) authorizing the Trustee to pay Sherwood’s expenses as set out in Paragraph 9 of the

 Engagement Agreement without further application by the Trustee and without further order of

 this Court; and (v) granting such other and further relief as the Court deems appropriate.

        Respectfully submitted, this the 23rd day of September, 2019.

                                              WALDREP LLP

                                              /s/ Thomas W. Waldrep, Jr.
                                              Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                              James C. Lanik (NC State Bar No. 30454)
                                              Jennifer B. Lyday (NC Bar No. 39871)
                                              Francisco T. Morales (NC Bar No. 43079)
                                              101 S. Stratford Road, Suite 210
                                              Winston-Salem, NC 27104
                                              Telephone: 336-717-1440
                                              Telefax: 336-717-1340
                                              Email: notice@waldrepllp.com

                                              Attorneys for the Trustee




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            EXHIBIT A – Declaration of Michael A. Maidy




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                   UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                         GREENVILLE DIVISION

  IN RE:                                 )
                                         )        Case No. 19-00730-5-JNC
  CAH ACQUISITION COMPANY #1,            )
  LLC, d/b/a WASHINGTON COUNTY           )        Chapter 11
  HOSPITAL,                              )
                                         )
             Debtor.                     )
                                         )

  IN RE:                                 )
                                         )        Case No. 19-01230-5-JNC
  CAH ACQUISITION COMPANY #2,            )
  LLC, d/b/a OSWEGO COMMUNITY            )        Chapter 11
  HOSPITAL,                              )
                                         )
  Debtor.                                )
                                         )

  IN RE:                                 )
                                         )        Case No. 19-01180-5-JNC
  CAH ACQUISITION COMPANY #3,            )
  LLC, d/b/a HORTON COMMUNITY            )        Chapter 11
  HOSPITAL,                              )
                                         )
  Debtor.                                )
                                         )


  IN RE:                                 )
                                         )        Case No. 19-01300-5-JNC
  CAH ACQUISITION COMPANY #6,            )
  LLC, d/b/a I-70 COMMUNITY              )        Chapter 11
  HOSPITAL,                              )
                                         )
             Debtor.                     )
                                         )




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  IN RE:                      )
                              )                           Case No. 19-01298-5-JNC
  CAH ACQUISITION COMPANY #7, )
  LLC, d/b/a PRAGUE COMMUNITY )                           Chapter 11
  HOSPITAL,                   )
                              )
            Debtor.           )
                              )

  IN RE:                       )
                               )                          Case No. 19-01697-5-JNC
  CAH ACQUISITION COMPANY #12, )
  LLC, d/b/a FAIRFAX COMMUNITY )                          Chapter 11
  HOSPITAL,                    )
                               )
             Debtor.           )
                               )

  IN RE:                       )
                               )                          Case No. 19-01227-5-JNC
  CAH ACQUISITION COMPANY #16, )
  LLC, d/b/a   HASKELL COUNTY )                           Chapter 11
  COMMUNITY HOSPITAL,          )
                               )
            Debtor.            )
                               )

  DECLARATION OF MICHAEL A. MAIDY IN SUPPORT OF MOTION TO EMPLOY
      SHERWOOD PARTNERS, INC. AS SALES AGENT TO THE TRUSTEE

        I, Michael A. Maidy, do solemnly depose and declare as follows:

        1.     I am Co-President of Sherwood Partners, Inc. (“Sherwood Partners”), with offices

 at 3945 Freedom Circle, Suite 560, Santa Clara, CA 95054. I have extensive experience working

 as an advisor to bankruptcy debtors and trustees involving, among others, health care entities.

 Sherwood Partners is a nationwide business consulting, financial management, and advisory firm.

         2.    I am fully familiar with the facts hereinafter and submit this Declaration (the

 “Declaration”) in connection with the Motion to Employ Sherwood Partners, Inc. as Sales Agent




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 for the Trustee (the “Motion”) pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code and

 Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure.

         3.    To the extent that any information disclosed herein requires amendment or

 modification upon Sherwood Partners’ receipt of additional information or as additional

 information becomes available, a supplemental Declaration will be submitted to the Court.

                                Professional Fees and Expenses

        4.     Pursuant to the terms and conditions of that certain engagement letter dated

 September 12, 2019 and with an Effective Date of September 13, 2019 by and between the Trustee

 and Sherwood Partners (the “Engagement Agreement”), a copy of which is attached to the Motion

 as Exhibit B, Sherwood Partners has agreed to accept payment for services provided to the Trustee

 as follows:

               (a)     $75,000 due on upon the signing of the Engagement Agreement, allocated
                       among the respective estates as set out on Exhibit B to the Engagement
                       Agreement;

               (b)     $27,500 shall be due 30 days after the signing of the Engagement
                       Agreement;

               (c)     An additional $27,500 shall be due 60 days after the signing of the
                       Engagement Agreement;

               (d)     An additional $27,500 shall be due 90 days after the signing of the
                       Engagement Agreement;

               (e)     In addition to the foregoing Consulting Fees, Sherwood will be entitled to
                       a Transaction Fee of $50,000 from the sale proceeds of each estate’s sale;
                       provided, however, that the Transaction Fee shall be $25,000 if the sale is
                       to party listed on Exhibit C to the Engagement Agreement; and

               (f)     In addition to the Consulting Fees and Transaction Fees, Sherwood will
                       receive a Success Fee equal to 5% of the combined Transactions’ Sales
                       Gross Value for all Affiliated Debtors in excess of $8,000,000.

        5.     Sherwood Partners also will seek reimbursement of all necessary out-of-pocket

 business expenses, incurred in connection with this matter up to $50,000.

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        6.      These rates are set out above are designed to fairly compensate Sherwood Partners

 for the work of its personnel. After conducting certain diligence in connection with reasonable

 compensation that Sherwood Partners could request for the provision of its services in these

 Chapter 11 cases, upon information and belief, the terms of the Engagement Agreement are similar

 to the terms, both financial and otherwise, agreed to by Sherwood Partners and other advisory

 firms, both inside and outside of bankruptcy. Moreover, the terms of the Engagement Agreement

 were negotiated between the Trustee and Sherwood Partners and reflect the work to be performed

 by Sherwood Partners in these Chapter 11 cases and the firm’s advisory expertise.

        7.      Sherwood Partners intends to apply to the Court for payment of compensation for

 services rendered and reimbursement of actual and necessary out-of-pocket business expenses in

 accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local

 Rules and orders of this Court. Sherwood Partners has agreed to accept as compensation such

 sums as may be allowed by the Court.

        8.      No compensation has been received by Sherwood Partners from the Trustee or any

 other person on said account.

        9.      Sherwood Partners has agreed not to share (a) any compensation that it may receive

 with another party or person, other than members of the firm itself or (b) any compensation that

 another person or party has received.

                           Sherwood Partners’ Conflict Check System

        10.     A search of the client databases and other relevant databases of Sherwood Partners

 was performed to identify any connections or relationships with the entities with which the Trustee

 or the Debtor has material relationships as identified by the Trustee. Such analysis consisted of a

 review of contacts with the Trustee, each Affiliated Debtor, and entities holding claims or interests



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 in any Affiliated Debtor that were made reasonably known to Sherwood Partners by the Trustee.

 A list of the parties reviewed is reflected in Schedule 1 to this Declaration. Sherwood Partners’

 review included conducting a query of such parties in databases containing the names of

 individuals and entities that are current or former clients of Sherwood Partners or who have other

 relationships with Sherwood Partners. Additionally, Sherwood Partners included the bankruptcy

 judges in the Eastern District of North Carolina and the bankruptcy administrator in the search

 process. A summary of the relationships that Sherwood Partners identified during this process is

 set forth in Schedule 2 hereto.

        11.     Sherwood Partners has provided or could reasonably be expected to continue to

 provide services unrelated to this Chapter 11 case for the various entities shown on Schedule 2.

 Sherwood Partners’ assistance to these parties has been related to providing various financial or

 consulting services. To the best of my knowledge, no services have been provided to these parties

 in interest that involve their rights in this Chapter 11 case, nor does Sherwood Partners’

 involvement in this case compromise its ability to continue such services.

        12.     In addition, as part of its diverse practice, Sherwood Partners appears in numerous

 cases and court proceedings and participates in transactions that involve many different

 professionals, including attorneys, accountants, investment banks, and financial consultants who

 may represent claimants and parties in interest in this Chapter 11 case. Further, Sherwood Partners

 has performed in the past, and may perform in the future, advisory and consulting services for

 various attorneys and law firms and has been represented by various attorneys and law firms, some

 of whom may be involved in these proceedings.           Based on our current knowledge of the

 professionals involved, and to the best of my knowledge, none of these relationships, if any, creates

 an interest materially adverse to the Trustee or any Affiliated Debtor in matters upon which



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 Sherwood Partners is to be employed, and none are in connection with the Trustee, any Affiliated

 Debtor, or this case.

                                  Disinterestedness of Sherwood Partners

         13.         To the best of my knowledge, and based on the results of the conflicts search

 described above, Sherwood Partners is a “disinterested person” within the meaning of Section

 101(14) of the Bankruptcy Code (as supplemented by Section 1107(b) of the Bankruptcy Code), in

 that, except as otherwise set forth herein, Sherwood Partners and its professionals:

             a) are not creditors, equity security holders, or insiders of the Trustee or the Debtor;

             b) are not and were not, within 2 years before the date of the filing of the Debtor’s Chapter
                11 petition, directors, officers, or employees of the Trustee or the Debtor; and

             c) do not have an interest materially adverse to the interest of the estate or of any class of
                creditors or equity security holders, by reason of any direct or indirect relationship to,
                connection with, or interest in, the Debtor, or for any other reason.

         14.         In addition, to the best of my knowledge and based upon the results of the conflicts

 search described above, other than as described herein, neither I, Sherwood Partners, nor any

 member or associate thereof, holds or represents an interest adverse to the Trustee, any Affiliated

 Debtor, or any Affiliated Debtor’s estate.

         15.         If any new material, relevant facts or relationships are discovered or arise, Sherwood

 Partners promptly will file a supplemental Declaration pursuant to Bankruptcy Rule 2014(a).

         16.         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is   true     and     correct    to   the   best   of    my   knowledge,     information,   and    belief.



         Executed this 20th day of September, 2019.




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 SCHEDULE 1
  3M
  Affiliated Medical Services
  Affinity Health Partners, LLC
  Airgas Mid South, Inc.
  Alere North America, Inc.
  American Esoteric Laboratory (AEL)
  American Red Cross Blood Services
  Ameripride
  Amerisource Bergen Drug Corp
  Anesthesia Dynamics
  Anthem Blue Cross Life and Health Insurance Company
  Anthem Health Plans of Kentucky, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans of Maine, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans of New Hampshire, Inc. doing business as Anthem Blue Cross and Blue
  Shield
  Anthem Health Plans of Virginia, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Health Plans, Inc. doing business as Anthem Blue Cross and Blue Shield
  Anthem Insurance Companies, Inc. doing business as Anthem Blue Cross and Blue Shield
  Arjo, INC.
  Arnett Carbis Toothman, LLP
  Assistant United Stated Trustee Jordan Sickman
  AT&T
  Attorney General, State of Missouri
  Baker Donelson Bearman Caldwell & Berkowitz, PC
  Bank of Hays
  BC Technical
  BCBSM Inc. doing business as BlueCross BlueShield of Minnesota

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  Beckman Coutler, Inc.
  Bio rad Laboratories Inc.
  Bioventus
  Blue Cross and Blue Shield of Georgia, Inc.
  Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.
  Blue Cross Blue Shield of Michigan Mutual Insurance Company
  Blue Cross Blue Shield of Wisconsin doing business as Anthem Blue Cross and Blue Shield
  Blue Cross of California, Inc. doing business as Anthem Blue Cross
  Boyce & Bynum Pathology Lab
  Brett King
  Brown County Treasurer
  CAH Acquisition Company #1, LLC a Delaware Limited Liability Company doing business
  as Washington County Hospital
  CAH Acquisition Company #10, LLC
  CAH Acquisition Company #11, LLC a Delaware Limited Liability Company doing business
  as Lauderdale Community Hospital
  CAH Acquisition Company #12, LLC a Delaware Limited Liability Company doing business
  as Fairfax Community Hospital
  CAH Acquisition Company #2, LLC a Delaware Limited Liability Company doing business
  as Oswego Community Hospital
  CAH Acquisition Company #3, LLC a Delaware Limited Liability Company doing business
  as Horton Community Hospital
  CAH Acquisition Company #4, Inc. an Oklahoma Corporation doing business as Drumright
  Regional Hospital
  CAH Acquisition Company #5, LLC a Delaware Limited Liability Company doing business
  as Hillsboro Community Hospital
  CAH Acquisition Company #6, LLC a Delaware Limited Liability Company doing business
  as I-70 Community Hospital
  CAH Acquisition Company #7, LLC a Delaware Limited Liability Company doing business
  as Prague Community Hospital



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  CAH Acquisition Company #9, LLC
  CAH Acquisition Company 16, LLC a Delaware Limited Liability Company doing business
  as Haskell County Community Hospital
  Cardinal Health - Pharm
  Cardinal Health 411, Inc.
  Cardinal Health Nuclear Pharm
  Carefusion Solutions, LLC
  Castle Medical, LLC
  Cayenne Medical, Inc.
  Cerner Corporation
  Charles E. Cartwright
  Cigna Health and Life Insurance Company
  Cigna Healthcare
  Cindi A Sims - Saline County Collector
  City Hillsboro, Kansas
  City of Drumright, OK
  City of Prague, OK
  City of Stigler, OK
  Cohesive Healthcare Management & Consulting, LLC
  Community Blood Center
  Community Insurance Company doing business as Anthem Blue Cross and Blue Shield
  Compcare Health Services Insurance Corporation doing business as Anthem Blue Cross and
  Blue Shield
  Comtrix Solutions
  CPP Wound Care #25 LLC
  CPP Wound Care, LLC
  CPSI
  Creek County Treasurer


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  Creekridge Capital
  Daniel Bercu
  David M. Warren
  DELTA Healthcare Providers
  Diagnostic Laboratory of OK
  Doerner, Saunders, Daniel & Anderson, L.L.P.
  Dominion North Carolina Power
  Drumright Regional Hospital
  Drumright Rural Health Clinic
  Emergency Coverage Corp
  Empire HealthChoice Assurance, Inc. doing business as Empire Blue Cross and Blue Shield
  Empower H.I.S LLC
  A Florida limited liability company
  Empower Healthcare, LLC
  a Florida Limited Liability Company
  Empower HMS LLC a Delaware Limited Liability Company
  Erx, LLC
  Fairfax Community Hospital
  Farnam Street Financial Inc.
  First Capital Corporation
  First Liberty Bank
  First Physicians Lending Solutions - Fairfax, LLC
  Fisher Healthcare
  Fox Rothschild
  Fusion Medical Staffing
  Gas & Supply
  Gemino Healthcare Finance
  Gene Evans


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  GlassRatner
  GlaxoSmithKline Pharmaceutical
  Haskell County, OK
  Haskell County Community Hospital
  Health Acquisition Company LLC
  A West Virginia limited liability company
  Healthy Alliance Life Insurance Company
  Heartland Pathology Consultant
  Hendren, Redwine & Malone, PLLC
  HERC
  High Point Capital
  Hillsboro Community Hospital
  HIPPA-Guard
  HMC/CAH Consolidated, Inc. A Delaware corporation
  HMO Healthkeepers, Inc. doing business as Anthem Blue Cross and Blue Shield
  HMO Missouri, Inc.
  Horton City Clerk
  Horton Community Hospital
  Hospital Equipment Rental Co.
  I.T.S. USA
  I-70 COMMUNITY HOSPITAL
  iHealthcare
  iHealthcare II
  iHealthcare, Inc.
  J&J Health Care
  James Shaffer
  Jorge A. Perez
  Judge Dana L. Rasure

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  Judge Joseph N. Callaway
  Judge Robert E. Nugent
  KCI USA
  Keith Plummer
  Key Rehabilitation
  Klenda Austerman LLC
  Lab Corp of America Holding
  Labcorp
  Labette County Treasurer
  Landmark National Bank
  Lauderdale Community Hospital
  Lauderdale County Assessor
  Lauderdale County HOPE Foundation
  LGMG, LLC
  Lifeblood/Mido UTH Blood
  M&T Bank
  Marion County Treasurer
  Marjorie K. Lynch
  McCartys
  McKesson
  McKesson Corporation
  McKesson Corporation - RX
  McKesson Medical-Surgical Inc.
  McNair Oil Co.
  Medline Industries, Inc.
  Merrick, Baker & Strauss, P.C.
  Midland



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  Miller EMS, LLC
  Missouri Department of Revenue
  Missouri Network Alliance, LLC
  Mobile Cardiac Care, LLC
  Modular Space Corporation
  N.C. Department of Justice
  Nelson Mullins Riley & Scarborough, LLP
  Netgen Healthcare
  Nortek Medical Staffing, Inc.
  North Carolina Department of Health and Human Services, Division of Health Benefits
  Nthrive Inc.
  OG&E
  Oklahoma Blood Institute
  Oklahome Tax Commission
  Ortho-Clinical Diagnositcs, Inc.
  OSU Foundation
  Oswego Community Hospital
  Patriot Placement Staffing LLC
  Paul L. Nusbaum
  Paulette J. Delk
  Pedro Galvez
  Phusion Marketing Group
  Phyllis Shaffer
  Prague Community Hospital
  Premier Spec Network LLC
  Primeforce Medical Corp
  Psychiatric Medical Care



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  Public Building Commission of Hillsboro, Kansas
  Quality Systems, Inc.
  Quest Diagnostics
  R. Lee Webber, Morton & Germany, PLLC
  Ramp Plymouth, PA
  Raymond Howard
  Reboot Inc.
  Reboot, Inc./HIPPA Guard
  Regence BlueCross BlueShield of Oregon
  Regence BlueCross BlueShield of Utah
  Regence BlueShield
  Regence BlueShield of Idaho
  RightCHOICE Managed Care, Inc.
  Ripley City Recorder
  Robert Venable, M.D.
  Rocky Mountain Hospital and Medical Service, Inc. doing business as Anthem Blue Cross and
  Blue Shield
  Roger and Mary Swearengin
  Rural Community Hospitals of Americ Attn: Steen F. White
  Rural Community Hospitals of America LLC (D.B.A. RCHA)
  Rural Emergency Medical Prov.
  Rural Health Partners, LLC
  Security Bank of Kansas City
  Shared Medical Services Inc
  Shared Medical Services, LLC
  Siemens Healthcare Diagnostics
  Spencer Fane LLP
  Spilman Thomas & Battle, PLLC

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  Standley Systems, LLC
  Stars
  Stephani W. Humrickhouse
  Steven F. White
  Stevens & Brand, LLP
  Stinson Leonard Street LLP
  Stone Bank
  Stryker Instruments
  Sysco Food Services
  Sysko of Kansas City
  Sysmex America, Inc.
  The Medical Protective Company
  Thomas W. Waldrep, Jr.
  TN Dept of Labor - Bureau of Unemployment Insurance
  Topeka Health Systems, LLC
  Total Medical Prsnnl Staffing
  Town of Plymouth
  Trial Attorney Carrie Ann Rochrscheib
  Trial Attorney Christopher T. Borniger
  Triplett Woolf Garretson, LLC
  Trucode, LLC
  United Linen Uniform Services
  US Bank
  US Foodservice
  Volente Healthcare LLC
  Waldrep, LLP
  Washington County Hospital



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  Washington County, NC
  Werfen USA Labs
  Westar Energy
  Western Healthcare, LLC
  WPM Pathology Laboratory




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 SCHEDULE 2
                                                        Services Related to Debtor's
  Relationship Identified                               Case



                        <NONE>                                        N/A




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                 EXHIBIT B – Engagement Agreement




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                      EXHIBIT C – Proposed Order




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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

  IN RE:                       )
                               )                             Case No. 19-00730-5-JNC
  CAH ACQUISITION COMPANY #1, )
  LLC, d/b/a WASHINGTON COUNTY )                             Chapter 11
  HOSPITAL,                    )
                               )
             Debtor.           )
                               )

                        ORDER ALLOWING MOTION TO EMPLOY
                             SHERWOOD PARTNERS, INC.
                          AS SALES AGENT TO THE TRUSTEE

        THIS MATTER came on for hearing on _________________, 2019 before the above-

 signed United States Bankruptcy Court for the Eastern District of North Carolina upon the Motion

 to Employ Sherwood Partners, Inc. as Sales Agent to the Trustee [Dkt. No. _____] (the “Motion”)

 filed on September _____, 2019 by Thomas W. Waldrep, Jr., the Trustee in this matter (the

 “Trustee”). Having considered the Motion and the statements of counsel at the hearing, after due

 notice to parties in interest as required by the Bankruptcy Code and Bankruptcy rules, and for good

 cause shown, the Court finds and orders as follows:




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          1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

 and 11 U.S.C. § 327(a). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          2.      On September ___, 2019, the Trustee filed the Motion, seeking court authorization

 to employ Sherwood Partners, Inc. (“Sherwood”) as sales agent to the Trustee in the instant case

 pursuant to the terms and conditions of Engagement Agreement2 attached to the Motion as Exhibit

 B and incorporated herein by reference.

          3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          Based upon the foregoing findings of fact and conclusions of law, IT IS THEREFORE

 ORDERED, ADJUDGED, AND DECREED as follows:

          1.      The Motion is GRANTED;

          2.      The Trustee is authorized to employ Sherwood as sales agent to the Trustee

 pursuant to Section 327(a) and Section 328(a) of the Bankruptcy Code, nunc pro tunc to September

 13, 2019, the Effective Date of the Engagement Agreement;

          3.      The terms of Sherwood’s employment as set out in the Engagement Agreement are

 hereby approved;

          4.      The Trustee is hereby authorized to pay the Consulting Fees according to the timing

 and amounts set out in Exhibit B to the Engagement Agreement without further application by the

 Trustee or further order of this Court;

          5.      The Trustee is hereby authorized to pay Sherwood’s expenses as set out in

 Paragraph 9 of the Engagement Agreement without further application by the Trustee and without

 further order of this Court; and




 2
     Capitalized terms not otherwise defined herein shall have the meanings given in the Motion.
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        6.      The Transaction Fees and Success Fees requested, and ultimate compensation

 allowed, shall be subject to the review and approval of the Court in its consideration of any future

 fee application.


                                      END OF DOCUMENT




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